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      UNITED STATES COURT OF INTERNATIONAL TRADE                                 FORM 4

________________________________________________
HYPE WIRELESS LPD LTD                           :
                                                 :
                  Plaintiff,                     :
                                                 :                 Summons
                  v.                             :                 Court No. 20-00202
                                                 :
UNITED STATES;                                   :
OFFICE OF THE UNITED STATES TRADE                :
REPRESENTATIVE; ROBERT E. LIGHTHIZER, U.S. :
TRADE REPRESENTATIVE; U.S. CUSTOMS &             :
BORDER PROTECTION; MARK A. MORGAN, U.S.         :
CUSTOMS & BORDER PROTECTION ACTING              :
COMMISSIONER,                                   :
                                                 :
                  Defendants.                    :
________________________________________________:


To:    The Above-Named Defendants:

        You are hereby summoned and required to serve on plaintiff’s attorney, whose name and
address are set out below, an answer to the complaint which is herewith served on you, within 60
days after service of this summons on you, exclusive of the day of service. If you fail to do so,
judgment by default will be taken against you for the relief demanded in the complaint.


                                                    /s/Mario Toscano
                                                    Clerk of the Court

                                                    U




                                                    Joseph M. Spraragen

                                                    GRUNFELD, DESIDERIO, LEBOWITZ
                                                    SILVERMAN & KLESTADT LLP
                                                    599 Lexington Avenue
                                                    New York, NY 10022
                                                    212-557-4000


    /s/ Joseph M. Spraragen
Signature of Plaintiff’s Attorney
Dated: September 17, 2020



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